        Case 1:21-cv-02265-APM            Document 403          Filed 06/11/25       Page 1 of 3



                                    UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF COLUMBIA

CONRAD SMITH, et al.,

            Plaintiffs,
               v.                                         Case No: 1:21-cv-02265 (APM)

DONALD J. TRUMP, et al.,

            Defendants.

                      MOTION FOR LEAVE TO WITHDRAW APPEARANCE

      Pursuant to LCvR 83.6(c), John Daniel Hull (“Hull”), moves for leave to withdraw his

appearance as counsel for Defendant Joseph R. Biggs (“Biggs”). There are a multitude of reasons that

drive or favor Hull’s withdrawal; however, decorum prevents him from listing them fully here. In

support, movant Hull does state that he seeks to withdraw as counsel due his lack of time, available

staff, and other resources to continue conducting what has been to date in effect a pro bono

representation in the instant civil case, one of three civil matters in which he or his firm Hull McGuire

PC has represented Biggs related to events at the Capitol on January 6, 2021. 1 In the instant matter,

Hull has represented Biggs regularly and diligently since October 18, 2021. (See ECF No. 55). At this

point, however, Hull no longer has the time, available support staff, or other resources to act for Biggs

free of charge temporarily and at the same time carry on his representation of other clients in his

practice. This difficulty has been exacerbated by two other developments. First, since mid-June 2023,

Hull and Biggs have not done well communicating on strategy and logistics about the instant case.

Since January 20, 2025, the two have had no discourse whatsoever despite movant’s efforts to make



 1
  In addition to the instant case, these civil matters include: a now-dismissed companion case (21-cv-3267-APM)
 before this Court; and an Veterans Administration military health and retirements benefits proceeding between
 May and November 2022. In the three civil matters, movant has been paid nothing despite Biggs’s agreements
 to do so. Finally, movant also represented Biggs in a January 6-related criminal case (21-cr-175-TJK) on a
 virtually 24/7 regimen between January 19, 2021, and June of 2023 for which significant unreimbursed outlays
 of firm and personal capital and fees are still unpaid.
                                                                1
          Case 1:21-cv-02265-APM          Document 403        Filed 06/11/25      Page 2 of 3



 contact and converse. Second, and most importantly, in May, Hull’s otherwise healthy 96-year-old

 mother in Naples, Florida, was unexpectedly hospitalized for a week, is now slowly recuperating, and

 requires more hands-on time and attention from her eldest son. This is of critical importance in the

 long term both to Hull’s immediate family and extended family in the Midwest and South.

         Finally, Hull notes that no trial has been set in this matter. Accordingly, Hull’s withdrawal

should not unduly delay any trial in this case, prejudice any party in the long term, or otherwise not be

in the interest of justice.



 Dated: June 11, 2025                       Respectfully submitted,

                                            By: /s/ J. Daniel Hull

                                             John Daniel Hull, IV
                                             D.C. Bar No. 323006
                                             California Bar No. 222862
                                             HULL MCGUIRE PC
                                             1420 N Street, N.W. - 9th Floor
                                             Washington, D.C. 20005
                                             202.429.6520
                                             jdhull@hullmcguire.com

                                             Counsel for Defendant Joseph Randall Biggs


                               LCvR 83.6(c) NOTICE TO JOSEPH R. BIGGS

        To Joseph R. Biggs by regular mail to two addresses at which he regularly receives mail:

        As noted above, I am asking the Court to permit me to no longer represent you in this matter.

 You are advised to retain a new counsel to replace me to continue in this matter on your behalf. In

 addition, if you intend to conduct the case pro se (i.e., on your own), or to object to my withdrawal,

 you should notify the Clerk in writing within seven days of service of this Motion.



 Dated: June 11, 2025                      By: /s/ J. Daniel Hull

                                                         2
       Case 1:21-cv-02265-APM          Document 403        Filed 06/11/25    Page 3 of 3



                                      CERTIFICATE OF SERVICE

       On June 11, 2025, the foregoing Motion and LCvR 83.6(c) Notice was served electronically upon

all counsel of record, by U.S. mail upon pro se parties, and upon Joseph R. Biggs at two addresses: 114

Camino Circle, Ormond Beach, FL 32174, and 105 Fairway Dr, Ormond Beach FL 32176.


                                            By: /s/ J. Daniel Hull
                                            John Daniel Hull, IV
                                            D.C. Bar No. 323006
                                            California Bar No. 222862
                                            HULL MCGUIRE PC
                                           1420 N Street, N.W. - 9th Floor
                                           Washington, D.C. 20005
                                           202.429.6520
                                           jdhull@hullmcguire.com




                                                     3
